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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                      )
                                               )                 8:15CR134
                     Plaintiff,                )
                                               )
       vs.                                     )                  ORDER
                                               )
JULIAN ANACLETO MANJARREZ-                     )
SANCHEZ,                                       )
                                               )
                     Defendant.                )

       This matter is before the court on the motion for an extension of time by defendant
Julian Anacleto Manjarrez-Sanchez (Manjarrez-Sanchez) (Filing No. 46). Manjarrez-Sanchez
seeks until June 1, 2015, in which to file pretrial motions in accordance with the progression
order. Manjarrez-Sanchez's counsel represents that government's counsel has no objection
to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Manjarrez-Sanchez's motion for an extension of time (Filing No. 46) is
granted. Manjarrez-Sanchez is given until on or before June 1, 2015, in which to file pretrial
motions pursuant to the progression order. The ends of justice have been served by granting
such motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between May
26, 2015, and June 1, 2015, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel requires
additional time to adequately prepare the case, taking into consideration due diligence of
counsel, and the novelty and complexity of this case. The failure to grant additional time
might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 26th day of May, 2015.
                                                   BY THE COURT:

                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
